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         6                 UN ITE D S TA TE S D IS TR IC T C O U R T                                 k
         7                       D IS TR IC T O F N E VA D A
         8                                  -0 0 0-
         9 UNITED STATES OF AMERICA,                   )
                                                       )    z:jj-cs-ag6      KJD-PAL
        10                    Plaintiff,               )
                                                       )    ORDER FOR ISSUANCE OF
        11              vs,                            )    W RIT OF HABEAS CORPUS
                                                       )    AD PROSEQUENDUM FOR
        12 HARVEY ORTEGA,JR.,                          )    HARVEY ORTEGA,JR.
                                                       )
        13                    Defendant.               )
                                                       )
        14

        15                    Upon readingthe jetition ofthe United StatesAdorneyforthe Districtof
        16 Nevada,and good cause appearing therefor,
        17(t
           y ,
                         IT IS HEREBY ORDERED thataW ritofHabeasCorpusAd Prosequendum
        1811
           1issueoutofthisCourt, diredingtheproductionofthebodyofthesaidHARVEY ORTEGA, j
          6'
           ;
        19jj JR., 1070002, before the United StatesMagistrate Judge atLasVegas,Nevada,on or I
                                                                                            p
    .
          !'     I/A&A/P Fri:l1/18/11            f                                             j
        20 about                                ,orlni
                                                     tialAppearance andArraignmentand Plea,and j
             j         - 3:00 PM CW H 3C                                                             I
        21 anyfurtherproceedingsandfrom time to tim e and dayto daythereafteruntilexcused bythe

        221 sai
              dCourt.
        2aj
          !j          DATED:g # eV 11                                                                I
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           1                                          UNITED ST TE        AGISTRATE JUDGE
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     1 DANIEL G ,BOG DEN
       United states Attorney
     2 CRISTINA SILVA
       AssistantUnited States Attorney
     3 333 Las Vegas Blvd.,S.,Suite 5000
       Las Vegas,Nevada 89101
     4 (702) 388-6336
     5               U N ITE D S TA TE S D IS TR IC T C O UR T
     6                       D IS TR IC T O F N E VA D A
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     8
           UNITED STATES OF AMERICA,                )    2:11-cr-396
     9                                              )
                  Plaintiff,                        )     '
    10                                              )    PETITION FOR W RIT OF HABEAS
      :!            vs.                             )    CORPUS AD PROSEQUENDUM FOR !
    1151                                            )    HARVEY ORTEGA,JR.                          l
      II HARVEY O RTEGA , JR.,                      )                                               j
                                                                                                    '
    12                                              )
                   Defendant.                       )
    13                                              )
    14            The petition ofthe United States Attorney forthe Districtof Nevada respectfully
    15 shows thatHARVEY O RTEGA,JR.,1070002,is com m itted by due process ofIaw in the
    16 custody ofthe W arden,Tonopah Conservation Cam p,thatsaid W arden has consented to
    17 the tem porary release ofthe said HA RVEY O RTEGA,JR. pursuantto a W ritofHabeas
    18 CorpusAd Prosequendum so thatthe said HARVEY O RTEGA,JR.m aybe presentbefore
    19 the United States M agistrate Judge forthe DistrictofNevada,atLas Vegas,Nevada,on
    20    I/A&A/P Fri:11/18/1l        forInitialAppearance and Arraignmentand Plea, and any
           -
               3:00 PM CW H 3C         ,
    21 fudherproceedings,and from tim e to time and day to day thereaheruntilexcused by the
    22     said Coud.
    23             Thatthe presence ofthe said HARVEY O RTEGA,JR.before the United States
    24     Magistrate Judge on orabout       I/A&A/P Fri:l1/18/11            cjany further
                                                 3:00 PM CW H 3C                  , an


    25     proceedings and from time to tim e and day to day thereaheruntilexcused bythe Courthas
    26 been ordered by the United States M agistrate orDistrictJudge forthe DistrictofNevada.
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      .L                                                                                       t
    1''             W HEREFORE, petitioner respectfully prays that a W rit of Habeas Corpus Ad i
    2 Prosequendum issue out ofthis Court,directed to the W arden,Tonopah Conservation
    3 Cam p and to the United States Marshalforthe DistrictofNevada,com m anding them to
    4 producethe said HARVEY ORTEGA,JR.before the United States DistrictCourtonorabout
    5        I/A&,A/P Fri:l1/18/11     ,and from tim e to time and day to day thereafter,
                     3:00 PM CW H 3C
    6 atsuch tlm es and places as m ay be ordered and directed by the Courtentitled above,to
                                                                                               r
    7 appearbeforetheCoud,andwhenexcusedbythesaidCoud,tobereturnedtothecustody 1
                                                                                               I
    8ll ofthe W arden,Tonopah Conservation Cam p,
      1
    9                     DATED this           day ofNovem ber2011.
    10                                            Respe         y subm itted,
    11                                            DA IEL .BOG DEN
                                       '          U ted S tes Attorney
    12                                                .
    13                                               '
                                                         '
                                                     3.

    14                                            C ISTINA SILVA                               6
                                                    sistantUnited States Attorney
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